442 F.2d 409
    UNITED STATES of America, Plaintiff-Appellee,v.Harold Wayne GLASBY, Defendant-Appellant.No. 30958 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    April 9, 1971.
    
      Edward J. Witten, Court Appointed, Jacksonville, Fla., for defendant-appellant.
      John L. Briggs, U.S. Atty., Jacksonville, Fla., for plaintiff-appellee.
      Appeal from the United States District Court for the Middle District of Florida, at Jacksonville; William A. McRae, Jr., District Judge.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    